                        Case 1:18-cv-00236-LY Document 13 Filed 06/07/18 Page 1 of 5


RECE\\\IED                                                                                    FILED
           '     2.O\           THE UNITED STATES DISTRICT COURT
                                                                                             JUN
                          u    FOR THE WESTERN DISTRICT OF TEXAS                                   72018
                                                                                       CLERK, U.S. DlSiRCT CLERK
CjB                                      AUSTIN DIVISION                              WE




      RICKY R. FRANKLIN                             )        Civil Action No: 1 :18-C V-23 6-LY
                                                    )

                  Plaintiff,                        )
                                                    )

      V.                                            )

                                                    )

      UPLAND SOFTWARE, INC.,                        )
                                                    )

                  Defendant                         )

                         PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
               Plaintiff, Ricky R. Franklin, Pro Se, and pursuant to Fed. R. Civ. 56, and LR.

      56.1-56.7, respectfully moves for Summary Judgment and requests summary

      judgment on the following claims within his Complaint for violations of the

      Telephone Consumer Protection Act ("TCPA"), 47 U.S.C.              §   227 et seq and

      O.GC.G.A 46-5-27(i).


                                                 SUMMARY

      COUNT I              The Defendant Upland Software, Inc., (hereinafter, USI) violated the

      Telephone Consumer Protection Act ("TCPA"), 47 U.S.C.              §   227 et seq by

      calling/texting the Plaintiff on his cellphone and leaving a automated voice
            Case 1:18-cv-00236-LY Document 13 Filed 06/07/18 Page 2 of 5




message on his phone. Further, Defendant USI called Plaintiff using a automated

system at least twenty-five (25) times in violation of the statute.


COUNT       II Defendant USI violated O.GC.G.A 46-5-27(i) by contacting Plaintiff
without his prior express written consent at least twenty-five (25) times by means

of automatic text messaging to a celiphone or pager in violation of O.C.G.A 46-5-

27 (i).


      The elements of each claim as to the summary judgment is sought; Plaintiff

expressly adopts and incorporates its accompanying Memorandum of Law in

accordance with LR 56.5 and LR 7.2 and Statement Undisputed Material Facts. In

accordance with LR 56.6, Plaintiff will also file an Appendix.


                                 REQUESTED RELIEF

      Plaintiff respectfully asks the Court to enter an order granting this motion for

Summary Judgment, and requests the following relief against Defendant USI,


1.    Statutory damages of $500.00 for each of the 25 calls in violation of 47 U.S.C.

§    227et seq.


2. Statutory damages     of $2,000.00 for each of the 25 calls made negligently in

violation of O.GC.G.A 46-5-27(i)




                                             2
        Case 1:18-cv-00236-LY Document 13 Filed 06/07/18 Page 3 of 5




Respectfully submitted, June 2nd 2018                     Ricky R. Franklin


                                                         7ling           Way
                                                       Stockbridge, GA 30281
                                                               (678-650-3733)
                                                      rrfrankl2@hotmai1.com
        Case 1:18-cv-00236-LY Document 13 Filed 06/07/18 Page 4 of 5




                         CERTIFICATE OF SERVICE



The undersigned hereby certifies that a copy of the foregoing was sent via mail on

June 2nd 2018 to Defendant's Counsel listed below:



                        CLEVELAND TERRAZAS PLLC

                                 Matthew Murrell

                                  Carlos Soltero

                        4611 Bee Cave Road, Suite 306B
                             Austin, Texas 78746
                              T: (512) 689-8698

      ATTORNEYS FOR DEFENDANT UPLAND SOFTWARE, INC.

Ricky R. Franklin


708 Brambling Way
Stockbridge, GA 30281
(678-650-3733)
rrfrank12@hotmai1.com
                                                                                                                                                                        PRIORITY MAIL
PRESS FIRMLY TO SEAL                                                                         PRESS FIRMLY TO SEAL                                                     POSTAGE REQUIRED




                                                                    U.S. POSTAGE
                                                                          $670
                                                                       PM 2-DAY                   FROM:                                                               Y!iIPSmTEs
                                                           i._       30304 0004                                                              S
                                                    -               5 Daleof sale                                                                                     POSTIIL SERVICE®
                                                           I                                                                             A
                                                                r

            I'                                                      506/02/18
                                                                     06    2S00°Cl)
                                                                    <08310289
                                                                                                              *
                                                                                                            FROM:
                                                                                                                           A                                 VISIT         US AT USPS,CUM®
                                                                                                                                                                ORDER FREE SUPPUES ONLINE
                                                                                                                                                                                             H
                  PRIORITY MAIL 2-DAY®                                                                             Rieky
            EXPECTED DEUVERY 06/08/2018
                                                                                                                               Frjj
            SHIP
                                                                                                                   IOS B          ilbilug        %Vay
            TO:                                                                       0004                        Stoekbriige,           (4
                                                                                                                  3 02 S 1




                   501   W 5TH ST STE 1100                                                                              TO:                            çJ-
                   AUSTIN TX 78701-3812
                                                                                                                                                                  /


w                        USPS TRACKING NUMBER
                                                                                                                                                       (
                                                                                                                                                   /



                                                                                                                                                            t         L)
                                                                                                                                     \       'U-

                          i                         ll   lII1I
                                                                                                                                                                                     A's'
                              9505 5000             1514 8153   0002 22

                                                                                                          Label 228, March 2016              FOR DOMESTIC AND INTERNATIONAL USE
                                                                                                                                                                                                  Case 1:18-cv-00236-LY Document 13 Filed 06/07/18 Page 5 of 5




    IIilI   1111111111111111   I   I   I   I   'I
                                                         EP14F July 2013                     VSITUSATUSPSUCOM®                                                                  UNITEDST/.ITES
    PS00001000014                                        OD:12.5x9.5                         ORDER FREE SUPPLIES ONLINE                                                        POSThL SER VICE®
